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                  IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA

          v.                           Crl.ml.nal No.      I}-Ioo
LARRY HATTEN

                           ARRAIGNMENT PLEA


                 Defendant Larry Hatten

                 being arraigned, pleads      ~~/~1l(

                 in open Court this  /'11'1( day      of
                 _~tt:L..J.tf_r=_ ___, 20..J.L.
